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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                          District of New Jersey
 In re       Evergreen Plaza Associates, LLC                                                                  Case No.      21-17120
                                                                                    Debtor(s)                 Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept a retainer of                                    $                100,000.00
             Prior to the filing of this statement I have received                                        $                 50,000.00
             Balance Due                                                                                  $                 50,000.00

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):           Debtor's Principal

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):           Debtor's Principal

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.  Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.  Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.  Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.  Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.  Advising the Debtors with respect to their powers and duties as debtors and debtors-in-possession with respect to the management and
           operation of their business and assets, including an anticipated refinancing of the Debtors’ prepetition lender’s loan/judgment;
       f. Attending meetings and negotiating with representatives of creditors and other parties in interest, and advising and consulting with respect to
           these Bankruptcy Cases, including all of the legal and administrative requirements of operating in chapter 11;
       g. Taking necessary action to protect and preserve the Debtors’ estates, including, but not limited to, the potential prosecution of motions or
           contested matters on behalf of the Debtors’ estates, the defense of any motions or contested matters commenced against the estates,
           negotiating on the Debtors’ behalf, and reviewing and/or objecting to claims filed against the estates;
       h. Preparing, on behalf of the Debtors, motions, applications, answers, orders, reports, and papers necessary to the administration of the
           estates;
       i. Communicating and/or negotiating with the Debtors’ pre-petition lenders, creditors and other interested parties, documenting any
           transactions and preparing necessary pleadings to seek Court approval thereof;
       j. Performing other necessary legal services and providing other necessary legal advice to the Debtors in connection with these Bankruptcy
           Cases; and
       k. Appearing before this Court and any appellate courts and protecting the interests of the Debtors’ estates before such courts.




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 In re       Evergreen Plaza Associates, LLC                                                          Case No.      21-17120
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)



6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

      October 5, 2021                                                            /s/ Joseph L. Schwartz
     Date                                                                       Joseph L. Schwartz
                                                                                Signature of Attorney
                                                                                Riker, Danzig, Scherer, Hyland & Perretti LLP
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                                                                                Name of law firm




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